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                                           September 17, 2021

  Hon. James M. Wicks
  United States District Court
  Eastern District of New York
  814 Federal Plaza
  Central Islip, New York 11722
  VIA ECF
                          Re:     Galloway v. Nassau County, et al.
                                  Docket No. 19-cv-5026 (AMD)(JMW)
                                  File No. 190164

  Dear Judge Wicks:

         We represent the Nassau County Defendants.1 I write responding to the Court’s September
  10, 2021 directive to brief the propriety of my assertion of work product privilege in this deposition
  question of Sheryl Anania: “[W]hether or not it is proper and constitutional, for a police officer to
  tell a crime victim, that they have identified the right person?” See Exh. 4 to Plaintiff’s
  disqualification motion, pp. 80-81. The objection is valid.

          This Court is not the first to wrestle with the issue. The scope of the work product doctrine
  is “one of the ‘most controversial and vexing problems’ in the Federal Rules of Civil Procedure.”
  68 Cornell L. Rev. 760, 762 (1983)(citation omitted). Moreover, “[W]ork product protection is the
  most frequently litigated discovery issue.” Id. at 763.

         The work product doctrine rests on the teaching of Hickman v. Taylor, 329 U.S. 495 (1947)
  and the elements of Fed. R. Civ. Pro. 26(b)(3), added in 1970. Although Rule 26(b)(3) protects
  from disclosure “documents and tangible things,” the work product doctrine covers unwritten
  thoughts and opinions. U.S. v. One Tract of Real Property Together With All Buildings, Imps.,
  Appurtenances and Fixtures, 95 F.3d 422, 428, n. 10 (6th Cir. 1996), Transmirra Products Corp.
  v Montsanto Chem. Co., 26 F.R.D. 572 (S.D.N.Y. 1960). See also Bernstein v. Bernstein 1993 WL
  184201 (EDNY 1993)(Go, U.S.M.J.).(“protected work product contained in documents and



  1
   The “Nassau County Defendants” are County of Nassau, Det. Matthew Ross, Det. Charles DeCaro, Det. Ronald
  Lipson, Det. Thomas D’Luginski, Det. George Darienzo, Det. Sgt. Richard Dorsi, Det. Rene Yao, and Det. Carl
  Strange.
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  tangible things cannot be obtained through less tangible methods such as the deposition
  questioning of persons with knowledge of the protected information.”)

          Fed. R. Civ. Pro. 26(b)(3)(B) says courts “must protect against disclosure of the mental
  impressions, conclusions, opinions or other legal theories of a party or its representative
  concerning the litigation.” (Emphasis added.) Plaintiff’s question to Sheryl Anania, the Executive
  Assistant District Attorney for the Nassau County District Attorney’s Office, falls squarely under
  this rule.

          First, Ms. Anania not only is an attorney, but she is also a high-ranking member of the
  District Attorney’s Office, an arm of Nassau County. As a result, she is no non-party stranger to
  this case; she is a “representative” of Nassau County2.When it came time to seek District Attorney
  documents, Plaintiff’s counsel knew Ms. Anania and her documents were part of Nassau County,
  a defendant in the case. He served document requests and interrogatories addressed to the Nassau
  County District Attorney’s Office (and which involved Ms. Anania) on counsel for Nassau
  County: me. He did not serve non-party subpoenas.

          A lawsuit against the DA (and the County because the DA is part of it) loomed as soon as
  Plaintiff’s exoneration. Plaintiff’s original complaint, in fact, named Kathleen Rice, the Nassau
  County District Attorney, and two Assistant District Attorneys in the office as defendants. See
  Docket Entry 1.3 He claimed that all defendants, including the District Attorney’s Office, acted in
  concert to falsely arrest and convict him. See id., ¶¶ 29, 43, 51, 61, among others demonstrating
  the alleged interrelationship between the County and the DA. Even before commencing this
  lawsuit, Plaintiff filed a notice of claim promising to hold Nassau County responsible for policies
  of the District Attorney’s Office. See Docket Entry 1-1 (Plaintiff’s pre-suit notice of claim.)

          The work product doctrine “provides qualified protection for materials prepared by or at
  the behest of counsel in anticipation of litigation or for trial.” The Shinnecock Indian Nation v.
  Kempthorne, 652 F.Supp.2d 345, 362 (EDNY 2009)(Bianco, J.)(citation omitted) It protects the
  ‘files and mental impressions of an attorney … reflected, of course in interviews, statements,
  memoranda, correspondence, briefs, mental impressions, personal beliefs, and countless other
  tangible and intangible ways prepared in anticipation of litigation.” Id. (Emphasis added) (citation
  omitted). As Judge Bianco held, “The standard in this Circuit is whether ‘in light of the nature of
  the documents and the factual situation in the particular case, the document can fairly be said to
  have been prepared or obtained because of the prospect of litigation.” (citing United States v.
  Adiman, 134 F.3d 1194, 1197 (2nd Cir. 1998)). In U.S. v. Adiman, the Second Circuit observed that

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    Plaintiff’s own document requests and interrogatories to Nassau County sought production of District Attorney
  documents, not just related to Galloway’s original prosecution, but also the re-investigation of the case by Ms. Anania.
  See Plaintiff’s discovery requests, annexed hereto as Exhibit “A” (preamble to document requests and document
  requests 1, 2, 3, 7, 9, 10, 17, 23, 24, 26, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 40, 48, 49, 50, 51, 53; and
  interrogatories 6, 9, 10, 11, and 12.)
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    Their names remain on this Court’s ECF docket sheet as discontinued parties, a constant reminder of their connection
  to this case as parties.
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  “Where a document is created because of the prospect of litigation, analyzing the likely outcome
  of that litigation, it does not lose protection under this formulation merely because it is created in
  order to assist with a business decision.” 134 F.3d at 1202. Thus, even if Ms. Anania might have
  another purpose in forming her opinion, it remains work product.

         The unwritten opinion of Sheryl Anania (the equivalent of a document containing that
  opinion) – a representative of Nassau County -- relates exclusively to the issues in this case. Her
  opinion on a constitutional claim at issue in the case is at the core of the work product doctrine.
  The mental impressions, conclusions, opinions, or legal theories of a party’s attorney or other
  representative “is virtually undiscoverable.” U.S. v. Deloitte, 610 F.3d 129, 135 (DC Cir. 2010).
  “If material constitutes opinion work product it is ‘absolutely immune from discovery’ whether it
  was ‘actually prepared by the attorney or another representative of the party.’” In re Allen, 106
  F.3d 582 (4th Cir. 1997).

          To obtain discovery of Ms. Anania’s work product, Plaintiff must show he has “substantial
  need for [Ms. Anania’s opinion] to prepare [his] case and cannot, without undue hardship, obtain
  [its] substantial equivalent by other means.” Fed. R. Civ. Pro. 26(b)(3)(ii). He cannot do so.

          As an evidentiary matter, Ms. Anania’s opinion on the constitutionality of a hypothetical
  fact pattern is inadmissible. Her answer would be the opinion of one lawyer, not even a lawyer
  who said she researched or thought about the question. Nobody has put her forward as an expert
  on this topic. If Plaintiff’s counsel wants to know if his hypothetical is constitutional, he has access
  to the same treatises and case reports as Ms. Anania. He also could check a bar directory and pose
  the question to any lawyer in the book, whose answer will have as little evidentiary weight (none)
  as an answer from Ms. Anania.

          The question to Ms. Anania – a representative of Nassau County – about her opinion related
  an issue in this litigation seeks pure attorney work product. Plaintiff fails to establish the need for
  it. The Court should sustain my objection.

         Thank you for your consideration of this matter.

                                                                 Very truly yours,

                                                                 SOKOLOFF STERN LLP




                                                                 Brian S. Sokoloff
  BSS/--
  cc:    All parties
         BY ECF
